
[*]
Pennington, J.
The question is, did Woodruff abide the award of the arbitrators? For if he did not, by the terms of the agreement, Bishop was not restrained to proceed in his suit. Woodruff, under an idea that he was not bound to pay the cost until the taxed bill was presented to him, took no trouble about it. In this, I think, he was mistaken. He ought at least to have found Bishop or his attorney in five days, and offered to pay the costs; if the sum could not legally have been ascertained, I incline to think, in that case, he might have been considered as abiding the award, by holding himself ready to pay when it should be. But it does not appear but that the costs could have been legally ascertained if Woodruff had offered to pay. That the creditor should look up the debtor, and demand payment, may be in conformity to practice, but it is not required by law. For these reasons I am of opinion, that judgment ought to be reversed.
The Chief Justice, and Ros,seel, J., being of the same opinion,
Judgment was reversed.
